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 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     WILLIAMS & COCHRANE, LLP;                  Case No.: 17-CV-01436 GPC DEB
11
                     Plaintiff,                 WILLIAMS & COCHRANE’S
12                                              POINTS & AUTHORITIES IN
                                                SUPPORT OF MOTION FOR
13                      vs.                     SUMMARY JUDGMENT UNDER
                                                FEDERAL RULE OF CIVIL
14                                              PROCEDURE 56 AGAINST
     ROBERT ROSETTE; ROSETTE &
15   ASSOCIATES, PC; ROSETTE, LLP;              ROSETTE DEFENDANTS ON
                                                THIRD CLAIM FOR RELIEF IN
     QUECHAN TRIBE OF THE FORT                  FOURTH AMENDED
16
     YUMA INDIAN RESERVATION, a                 COMPLAINT [DKT. NO. 220]
17   federally-recognized Indian tribe; and
                                                Date:      December 4, 2020
     DOES 1 THROUGH 100;                        Time:      1:30 p.m.
18
                                                Dept:      2D
19                     Defendants.              Judge:     The Honorable Gonzalo P.
                                                           Curiel
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                                            Case No.: 17-CV-01436 GPC DEB
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 1                                         INTRODUCTION
 2          By this motion, Williams & Cochrane, LLP (“Williams & Cochrane” or “Firm”)
 3   moves for summary judgment on its Third Claim for Relief in the Fourth Amended Com-
 4   plaint alleging that Robert Rosette, Rosette & Associates, PC, and Rosette, LLP (“Rosette
 5   Defendants”) engaged in false advertising in violation of the Lanham Act, 15 U.S.C. §
 6   1051 et seq. See Dkt. No. 220. The Fourth Amended Complaint presents the quintessen-
 7   tial case of false advertising, one in which a direct competitor severs another’s contract
 8   and takes over the work for itself at the last minute while contemporaneously advertising
 9   in both print and electronic media that it was actually responsible for achieving the result
10   that led to the original contract in the first place.
11          As this Court is aware, at the time of the principal harm in this case the Rosette
12   Defendants were advertising on their firm website the following statement:
13          Mr. Rosette also successfully litigated a case saving the Pauma Band of
            Luiseno Mission Indians over $100 Million in Compact payments allegedly
14
            owed to the State of California against then Governor Schwarzenegger.
15
     See Declaration of Cheryl A. Williams (“Williams Decl.”), Ex. 15. This fact is indispu-
16
     table, as the Rosette Defendants admitted during discovery that this precise statement was
17
     on the firm website and “generally accessible by users who have access to the internet”
18
     from at least “May 31, 2017 through… July 1, 2017” (i.e., the relevant time period). See
19
     Williams Decl., P0167. But, if this were not enough, the statement also made its way in-
20
     to the firm’s marketing materials. See Williams Decl., Ex. 14. As the responsible execu-
21
     tive assistant at the firm testified during the anti-SLAPP portion of the case, the Rosette
22
     Defendants commission the printing of marketing brochures in the ordinary course of
23
     business and for years these brochures that are sent to actual and prospective clients have
24
     contained the exact same representation, that Mr. Rosette “successfully litigated a case
25
     saving the Pauma Band of Luiseno Mission Indians over $100 Million.” Williams Decl.,
26
     Ex. 14, ¶¶ 4-6.
27
            Of course, this statement is literally and unequivocally false, and proving as much
28
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 1   should require little more than scanning the federal court dockets for the referenced case
 2   – which, along with the filings therein, Williams & Cochrane asks the Court to judicially
 3   notice under Federal Rule of Evidence 201.1 What the various dockets for this seven-year
 4   case show is that a predecessor of Mr. Rosette’s current law firm had custody of this case
 5   for the initial nine-month period, from its filing on September 4, 2009 till roughly June
 6   14, 2010. See Pauma Band of Luiseno Mission Indians of Pauma & Yuima Reservation v.
 7   California, No. 09-01955 CAB MDD (S.D. Cal. 2017). For the first eight of these nine
 8   months, the two partners for Williams & Cochrane were attorneys at this firm and han-
 9   dled the case, as is evidenced by Cheryl Williams being the signatory on every substan-
10   tive filing. They prepared the complaint, opposed a motion to dismiss by the State of Cal-
11   ifornia, and moved for and obtained a preliminary injunction on behalf of the Pauma
12   tribe. Yet, when these two attorneys departed the firm on or about May 15, 2010, the Ro-
13   sette Defendants took over responsibility for working the case and were immediately
14   tasked with preserving the preliminary injunction in the face of an interlocutory appeal
15   filed by the State of California – something they failed to do, as the United States Court
16   of Appeals for the Ninth Circuit issued an order staying the injunction on July 28, 2010.
17   See Pauma Band of Luiseno Mission Indians of Pauma & Yuima Reservation v. Califor-
18   nia, No. 10-55713, Dkt. No. 39 (9th Cir. July 28, 2010). Just days after filing what would
19   turn out to be its ineffective opposition brief, the Rosette Defendants were removed as
20   counsel of record in the Pauma case and soon thereafter replaced by the attorneys for
21   Williams & Cochrane, who would then exclusively handle the aforesaid case for the next
22   six years. During this time, they convinced the Ninth Circuit to reinstate the injunction,
23   kept the injunction in place at the end of the appeal, amended the complaint to add new
24   claims for relief based upon an entirely different body of contract law, obtained summary
25         1
              “Courts routinely take notice of the actions of other courts or the contents of
26   filings in other courts.” Daniel v. Cook County, 833 F.3d 728, 742 (7th Cir. 2016) (ci-
27
     tation omitted). As such, Williams & Cochrane requests notice of the following dockets
     and filings therein from the Pauma litigation: No. 09-01955 (S.D. Cal.), 10-55713 (9th
28   Cir.), 14-56104 (9th Cir.), 14-56105 (9th Cir.), 15-1185 (U.S.), and 15-1291 (U.S.).
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 1   judgment on account of one of those newly-added claims, defended the judgment on
 2   appeal to the Ninth Circuit and petition for writ of certiorari to the Supreme Court of the
 3   United States, and oversaw the post-judgment collection efforts to ensure the tribe ob-
 4   tained its $36 million restitution remedy.
 5         After all of this, Williams & Cochrane then moved on to assist another tribe deal-
 6   ing with a similar but more complicated revenue sharing dispute with the State of Califor-
 7   nia after it reached out in the wake of the press reporting on the State satisfying the Pau-
 8   ma judgment. Over the course of the next nine months, Williams & Cochrane did exactly
 9   what this tribe – the Quechan Tribe of the Fort Yuma Indian Reservation (“Quechan” or
10   “Tribe”) – requested (and then some), which was to effectuate a negotiated settlement of
11   its dispute with the State of California without court involvement by obtaining a new
12   compact that reduced its revenue sharing obligations. But, just days before the parties
13   were supposed to sign and thereby execute the compact, the presumptive Chairman of
14   Quechan terminated Williams & Cochrane pursuant to a letter that demanded the final
15   draft compact, explained the Tribe would “not pay any contingency fee or ‘reasonable fee
16   for the legal services provided in lieu’ thereof,” advised the Firm “against pressing your
17   luck further out of concern for the reputation of your firm in Indian Country and in the
18   State of California,” and instructed the Firm to “direct all communications regarding this
19   matter to [one] Robert A. Rosette.” Williams Decl., Ex. 41.
20         Apparently, losing custody of the Pauma case was something Mr. Rosette never
21   got over. More than a year after his termination, he would instigate a series of e-mail
22   communications with the California Office of the Governor in which he tried to settle the
23   lawsuit even though he admittedly did not represent the tribe. See Williams Decl., Ex. 54.
24   These communications only came to light after the deputy attorney general assigned to
25   represent the State of California in the Pauma litigation became concerned about the un-
26   ethicality of the situation, and putting a stop to them required obtaining a protective order
27   from the district court. See Pauma, Dkt. No. 183. Rather remarkably, according to one of
28   the select few documents produced by the Rosette Defendants during discovery, Mr. Ro-
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 1   sette was still hung up on the motion for protective order nearly four years later, when, on
 2   May 31, 2015, he reached out to various individuals associated with the Pauma tribe that
 3   had fired him years earlier to tell them “[i]t appears that the Tribe’s litigation attorneys
 4   have renewed their effort to seek a protective order through the Court,” and he thus need-
 5   ed to obtain letters vouching for his past indiscretions “in order to restore my reputation
 6   with the State.” Williams Decl., Ex. 55. Of course, no such motion for protective order
 7   was forthcoming; rather, the attorneys with Williams & Cochrane had already won before
 8   the district court and were focused upon preparing for the Ninth Circuit hearing, com-
 9   pletely oblivious to the fact that Mr. Rosette was still trying to seek perceived retribution
10   for being fired from the case so many years ago.
11         That retribution would ultimately come just two years later, when Mr. Rosette sur-
12   faced at Quechan during the summer of 2017 and succeeded in his efforts to interfere
13   with Williams & Cochrane’s business with the aid of the foregoing advertisements that
14   proclaimed he (and not Williams & Cochrane) was actually responsible for “successfully
15   litigat[ing]” the Pauma case – the very case that consumed his thoughts and energies for
16   years on end. As the above facts show, a website advertisement run by one who ultimate-
17   ly takes from a direct competitor a client situated similarly to the imagined one in the ad-
18   vert is both “literally false” and intentionally done, which in turn creates presumptions for
19   the remaining causation and materiality elements of the Lanham Act claim that the
20   Rosette Defendants now have to rebut. Yet, with everything objective about the Rosette-
21   Quechan relationship hidden from view on more than 110 pages of privilege logs (includ-
22   ing the materials predating the start of the formal relationship), there is simply no way for
23   the Rosette Defendants to carry its burden with credible evidence. As such, the Court
24   should enter judgment in favor of Williams & Cochrane on its Lanham Act claim and a-
25   ward damages at least equivalent to the Firm’s lost profits and the Defendants’ financial
26   gains at Quechan, if not trebling one or both of the foregoing amounts to help deter gross
27   and intentional misconduct like this in the future.
28   ///
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 1                                      LEGAL STANDARD
 2         Summary judgment “shall be rendered forthwith if the pleadings, depositions, an-
 3   swers to interrogatories, and admissions on file, together with the affidavits, if any, show
 4   that there is no genuine issue as to any material fact and that the moving party is entitled
 5   to judgment as a matter of law.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors, 809 F.2d
 6   626, 630 (9th Cir. 1987). “When the record taken as a whole could not lead a rational
 7   trier of fact to find for the non-moving party, there is no ‘genuine issue for trial.’”
 8   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). This situ-
 9   ation arises when the evidence is “so one-sided” – like where the non-movant’s offerings
10   are “merely colorable” or “not significantly probative” – that the moving party must pre-
11   vail as a matter of law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-52 (1986).
12                                           ARGUMENT
13   I.    A SERIES OF PRESUMPTIONS – INCLUDING TWO MAJOR ONES – SHIFT THE BUR-
           DEN OF PROOF FOR THE FALSE ADVERTISING CLAIM UNDER THE LANHAM ACT
14
           ON TO THE ROSETTE DEFENDANT TO TRY AND REBUT ELEMENTS OF THE TEST
15         THAT ARE EITHER WHOLLY UNDISPUTED OR FOR WHICH THEY REFUSED TO PRO-
           DUCE RESPONSIVE EVIDENCE DURING DISCOVERY
16
           A.     Test
17
           The standard test for false advertising under the Lanham Act incorporates five ele-
18
     ments, which are: “(1) a false statement of fact by the defendant in a commercial adver-
19
     tisement about its own or another’s product; (2) the statement actually deceived or has the
20
     tendency to deceive a substantial segment of its audience; (3) the deception is material in
21
     that it is likely to influence the purchasing decision; (4) the defendant caused its false
22
     statement to enter interstate commerce; and (5) the plaintiff has been or is likely to be in-
23
     jured as a result of the false statement, either by direct diversion or sales from itself to de-
24
     fendant or by a lessening of the goodwill associated with its products.” Southland Sod
25
     Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997). To prevail, a plaintiff
26
     “bears the burden of proof to present evidence in support of the allegations in the com-
27
     plaint and to prove those allegations by a preponderance of the evidence.” Yeti Enters. v.
28
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 1   Tang, 2017 U.S. Dist. Lexis 128779, *22 (D. Or. 2017) (citing Merck Eprova AG v.
 2   BrookStone Pharms., LLC, 920 F. Supp. 2d 404, 415 (S.D.N.Y. 2013)). “The burden of
 3   showing something by a preponderance of the evidence… simply requires the trier of fact
 4   to believe that the existence of a fact is more probable than its nonexistence.” Id. (citing
 5   Metro Stevedore Co. v. Rambo, 521 U.S. 121, 137 n.9 (1997)).
 6         B.     Presumptions and Undisputed Facts
 7         While this “more likely than not” standard generally puts the burden on the pro-
 8   ponent of a claim to show the weight of the evidence tips in his or her favor, a false ad-
 9   vertising claim under the Lanham Act is different from most other claims in that a well-
10   established body of presumption law shifts the burden to the defendant in certain circum-
11   stances. Some of the lesser element-specific presumptions will be discussed in the sec-
12   tions devoted to those particular elements, but there are two major presumptions affecting
13   a false advertising claim on a more global level that warrant attention at the outset. Those
14   two presumptions relate to a statement being either “literally false” or done with an intent
15   to deceive, in which case “both actual deception and materiality are presumed.” AECOM
16   Energy & Constr., Inc. v. Ripley, 348 F. Supp. 3d 1038, 1056 (C.D. Cal. 2018) (citing,
17   e.g., U-Haul Int’l Inc. v. Jartran, Inc., 793 F.2d 1034, 1041-42 (9th Cir. 1986));
18   Youngevity Int’l v. Smith, 2019 U.S. Dist. Lexis 112926, *13-*14 (S.D. Cal. 2019) (ex-
19   plaining “[w]hen a claim is literally false, a plaintiff need not provide evidence on wheth-
20   er the claim was deceptive or material”); Nutrition Distrib. LLC v. PEP Research, LLC,
21   2019 U.S. Dist. Lexis 25352, *13 (S.D. Cal. 2019) (explaining presumptions of deception
22   and materiality arise if a defendant intended to deceive customers via a misleading adver-
23   tisement). Thus, take a literally false statement: this falsity not only satisfies the first ele-
24   ment of the test, but it also creates presumptions for the second and third elements which
25   the defendants then have to disprove. For a case like this in which the presence of the ad-
26   vertisement on a website and diversion of an actual customer prove the interstate com-
27   merce and injury requirements, respectively, what this in turn means is that the Rosette
28   Defendants have to come forward and disprove causation or materiality or the Court has
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 1   everything it needs in order to enter judgment for the plaintiff on the basis of the literally
 2   false statement. See Lindy Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1411 (9th Cir. 1993)
 3   (explaining that a customer switching companies to a direct competitor is credible proof
 4   of the fact of damages). Much the same can be said about the presumption arising from
 5   the intent to deceive, or to lead someone to believe something is not true, typically in or-
 6   der to gain a personal advantage. See Webster’s New International Dictionary 584 (3d ed.
 7   2002). Even if the Pauma advertisement is somehow just misleading on account of its
 8   failure to detail a host of important contextual information, peddling a supposed legal vic-
 9   tory with the goal of obtaining work from a similar client facing a similar plight (while
10   seemingly also settling an age-old score) necessarily means that the burden of proof has
11   become the burden of disproof that requires the defendant to show by a preponderance of
12   the evidence that either the statement was not material or the cause of harm.
13         C.     Evidentiary Issues
14         Unfortunately, this reality puts the Rosette Defendants in an impossible position
15   because they are being asked to show how the viewing audience might react to the Pau-
16   ma advertisement while suppressing the evidence on how Quechan actually did react at
17   the outset of the relationship. As to that, the original discovery production by the Rosette
18   Defendants in this case totaled 211 pages, a tender that Williams & Cochrane was expect-
19   ed to accept represents the entire quantum of evidence related to the Rosette Defendants
20   winding up the one-hundred-plus-page Quechan compact, dealing with various State or
21   federal entities, and communicating with or about the various stakeholders in this suit.
22   See Williams Decl., Ex. 8. The reason this production was so paltry became evident late
23   in the fact discovery period when the Defendants finally produced their respective privi-
24   lege logs, which together add up to one-hundred and twelve pages and house more than a
25   thousand documents – including those that predate the start of the representation. See
26   Williams Decl., Exs. 5-6. Knowing claims of privilege were likely forthcoming, Williams
27   & Cochrane tried to obtain the evidence about the origins of this situation from an alter-
28   nate angle, by propounding requests for production on the Rosette Defendants asking for
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 1   all documents mentioning Cheryl Williams and/or Kevin Cochrane after their departures
 2   from Rosette & Associates, PC. See Williams Decl., Ex. 7. A reasonable person in the
 3   position of the defendant should have something ranging between 0 and 10. However,
 4   counsel for the Rosette Defendants indicated that she found in excess of 500 responsive
 5   documents (or more than 50 per year), and fought tooth and nail to shield these materials
 6   from disclosure during the consequent motion to compel proceedings even as the descrip-
 7   tions of these documents morphed from being responsive to just junk mail in order to fit
 8   some narrative that the requests were too outlandish for compliance purposes. See Wil-
 9   liams Decl., P0205. Yet, no reasonable person is going to expend such effort and money
10   to protect that which is not worthy of protection. Thus, the decision by the Defendants to
11   suppress all internal documents related to the Rosette-Quechan relationship means the
12   Court would be incentivizing inequity by allowing the Rosette Defendants to prove in the
13   abstract subjects it would not permit inquiry of in the concrete.
14   II.   THE PAUMA ADVERTISEMENTS ON THE ROSETTE DEFENDANTS' WEBSITE AND IN
           ITS MARKETING BROCHURES ARE LITERALLY FALSE ACCORDING TO EVERY
15
           CONCEIVABLE SOURCE - DICTIONARY DEFINITIONS, THE WORLD'S PREEMINENT
16         LEGAL GRAMMARIAN, FEDERAL AUTHORITIES INTERPRETING LIKE LANGUAGE,
           AND THE DECISIONS OF FEDERAL JUDGES IN SIMILAR CASES
17
           A.     Literal Falsity – Express
18
           The first element in a false advertising claim under the Lanham Act of a false state-
19
     ment of fact requires a plaintiff to show “that the statement was literally false, either on
20
     its face or by necessary implication, or that the statement was literally true but likely to
21
     mislead or confuse consumers.” Southland Sod Farms, 108 F.3d at 1139. For these two
22
     different showings, the general rule in marketplace settings unrelated to the legal field is
23
     that literal falsity is decided by the judge while the issue of whether or not an advertise-
24
     ment is misleading turns upon an assessment of how the buying public may react. See
25
     Mut. Pharm. Co. v. Ivax Pharms., Inc., 459 F. Supp. 2d 925, 933 (C.D. Cal. 2006) (cita-
26
     tion omitted).
27
     ///
28
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 1                i.     Dictionary Definitions
 2         In this case, the Pauma advertisement on the Rosette website and in the firm’s
 3   marketing materials is literally false, and the best way to prove as much is by dissecting
 4   the statement grammatically. Arguably the most revered series of dictionaries in the Uni-
 5   ted States are those edited by Noah Webster, beginning with his American Dictionary of
 6   the English Language in 1828 and continuing on to his Third Edition of the New Interna-
 7   tional Dictionary in 2002. Virtually all legal scholars agree on this point, with the “pre-
 8   eminent legal writing scholar” Bryan A. Garner (more on him later) even describing the
 9   most recent edition of these dictionaries as a “recommended” unabridged dictionary that
10   “every self-respecting writer ought to own.” Univ. of Del. v. New Castle County, 2003
11   Del. Super. Lexis 37, *27 n.58 (2003) (citing Bryan A. Garner, The Elements of Legal
12   Style 99-100 (2d ed. 2002)). With that said, the Second Edition of the New International
13   Dictionary is nearly twice the size of its successor, and many federal courts will still look
14   to this “previous, and for many the classic, edition of the same dictionary” for guidance
15   in resolving textual-based Lanham Act issues between competitors. Miller Brewing Co. v.
16   G. Heilman Brewing Co., 561 F.2d 75, 81 (7th Cir. 1977).
17         Here, the first time one should pause and question whether the Pauma advertise-
18   ment is literally false is the fourth and fifth words of “successfully” and “litigated” in the
19   statement Mr. Rosette also successfully litigated a case saving the Pauma tribe over $100
20   million. The transitive verb litigate is defined in the Second Edition of Webster’s as “[t]o
21   make the subject of a lawsuit; to contest in law; to prosecute or defend by pleadings, evi-
22   dence, and debate in a court; as to litigate a cause.” Webster’s New International Diction-
23   ary 1444 (2d ed. 1941). A substantively similar definition is also included in both the first
24   and last dictionaries under Noah Webster’s name. See Webster’s New International Dic-
25   tionary 1322 (3d ed. 2002); American Dictionary of the English Language (1st ed. 1828).
26   Now, pair this definition for the transitive verb “litigate” with the adverb “successfully,”
27   which the Second Edition defines either directly or indirectly as “[w]ith success” or “in
28   a… manner” “resulting or terminating in success.” Webster’s New International Diction-
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 1   ary 2517 (2d ed. 1941). What follows when one inserts these definitions into the Pauma
 2   advertisement is that Mr. Rosette prosecuted a case on the pleadings, evidence, and by
 3   ultimate debate in court in a manner that resulted or terminated in a favorable decision.
 4   The fruits of that decision are then described in the latter half of the statement as the
 5   “$100 Million” in compact savings the judgment supposedly awarded and Mr. Rosette
 6   supposedly attained. Of course, both portions of the Pauma advertisement are literally
 7   false in light of the actual filings in the referenced case, which show that the Rosette De-
 8   fendants were removed early on in the proceedings, and more than a full year before the
 9   claim on which the tribe ultimately prevailed was even added to the complaint.
10                ii.    Bryan A. Garner
11         It is not just dictionaries through; the “preeminent legal writing scholar” mentioned
12   above would also reach the same conclusion that the Rosette advertisement is objectively
13   inaccurate from a grammatical perspective. How do we know that? Well, because Bryan
14   A. Garner agreed to serve as an expert witness for Williams & Cochrane in this lawsuit.
15   See Williams Decl., Ex. 1. As most people in this profession know, Bryan A. Garner is an
16   extremely distinguished legal scholar, one who has served as the editor of Black’s Law
17   Dictionary for the past five unabridged editions, a recurrent drafter for the revisions to the
18   federal rules, and the author of more than 25 books – most of which deal with grammati-
19   cal or interpretive issues. When presented with an anonymized version of the Pauma ad-
20   vertisement and a concise, neutral statement of underlying facts, Professor Garner agreed
21   to involve himself in this case and ultimately opine in line with the dictionary discussion
22   above: that the Pauma advertisement is objectively false both as it relates to Mr. Rosette
23   having “successfully litigated [the] case” and the amount he supposedly obtained for the
24   client as a result of that effort. In reaching his opinion, Professor Garner explained that
25   for the first nine months of the lawsuit
26      Essentially, the procedures up to this point were preliminary skirmishes in
        the litigation. When Mr. Rosette was replaced as counsel, he left the litiga-
27
        tion having just filed what would be an unsuccessful opposition to a motion.
28      His client was in no better position, and arguably in a worse position, than
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 1          when the original suit was filed.
 2   Williams Decl., Ex. 1, ¶ 9. Professor Garner then went on to discuss the tempestuous
 3   nature of litigation that can create problems – often permanent problems – on a moment’s
 4   notice:
 5          Any lawsuit involves complexities in responding to the opponent’s
 6
            maneuverings, especially when the financial stakes are high. Cases can be
            won or lost on procedural points as well as substantive ones. Discovery can
 7          be time-consuming and burdensome, and it can take unexpected turns.
 8
            Deadlines come and go. Impressions that counsel make on the court, based
            on stances taken, can have an enduring effect on the decision-maker.
 9
     Williams Decl., Ex. 1, ¶ 12. With this in mind, Professor Garner then concluded that “it is
10
     impossible to say truthfully that he [Mr. Rosette] ‘successfully litigated’ the case when he
11
     was replaced as counsel within the first year of its pendency” and, amongst other things,
12
     “the theory of the case on which the client ultimately prevailed is one that Mr. Rosette’s
13
     pleadings never contained… and… the legal complications of the case were so significant
14
     that the Ninth Circuit took nearly 34 pages to explain its intricate reasoning.” Williams
15
     Decl., Ex. 1, ¶ 13.
16
                   iii.    Federal Courts Generally
17
            In addition to deconstructing the Pauma advertisement, it is also helpful to look at
18
     how federal courts treat similar language that comes before them. The primary way in
19
     which the meaning of “litigation” arises in federal court is in connection with collateral
20
     estoppel, where a court has to determine whether an issue has been “actually litigated.”
21
     According to numerous federal court opinions, the phrase “actually litigated” when used
22
     in connection with a singular issue means that the issue was “contested by the parties and
23
     submitted for determination by the court.” See, e.g., Ghalehtak v. Fay Servicing, LLC,
24
     304 F. Supp. 3d 877, 888 (N.D. Cal. 2018) (citation omitted). On this point, the Restate-
25
     ment Second of Judgments agrees, as it explains precisely “[w]hen an issue is actually
26
     litigated”:
27
        When an issue is properly raised, by the pleadings or otherwise, and is
28      submitted for determination, and is determined, the issue is actually litigated
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 1         within the meaning of this Section. An issue may be submitted and
 2         determined on a motion to dismiss for failure to state a claim, a motion for
           judgment on the pleadings, a motion for summary judgment[ ], a motion for
 3         directed verdict, or their equivalents, as well as on a judgment entered on a
 4         verdict. A determination may be based on a failure of pleading or of proof as
           well as on the sustaining of the burden of proof.
 5
     Restatement (Second) of Judgments § 27 cmt. d (1982). To get from “actually litigated”
 6
     to the statement under review, all one needs to do is assign the ultimate outcome to the
 7
     case so litigated – whether it be successfully or unsuccessfully. Thus, in the context of a
 8
     whole case rather than just a singular issue, “successfully litigated” means that the entire
 9
     case was submitted for determination and decided by a court in favor of the party or other
10
     person contending it resulted or terminated in a successful outcome.
11
                  iv.   The Brave Law Firm Case
12
           Additional support also comes from the myriad of federal courts that have dealt
13
     with cases in which professionals try to bolster their competitive standing by inflating
14
     their credentials or “claiming [another’s] historical accomplishments as their own.”
15
     AECOM Energy & Constr., Inc., 348 F. Supp. 3d at 1056; see Healthport Corp. v. Tanita
16
     Corp. of Am., 563 F. Supp. 2d 1169, 1179 (D. Or. 2008) (explaining that inaccurate state-
17
     ments about one’s verifiable credentials are literally false). In recent years, this problem
18
     has even come to arise in other cases involving competing law firms in which one is al-
19
     leged to be overreaching in its advertising to the detriment of the other. One such case is
20
     the Brave Law Firm lawsuit in the District of Kansas, in which the plaintiff reviewed the
21
     “verdicts and settlements” webpage for its competitor and concluded that it misrepresent-
22
     ed the firm’s role in attaining a $9 million settlement. See Brave Law Firm, LLC v. Truck
23
     Accident Lawyers Grp., Inc., 2019 U.S. Dist. Lexis 79275, *19 (D. Kan. 2019). The evi-
24
     dence supporting this belief was actually quite flimsy: just a text message from an undis-
25
     closed individual who contended that the defendant “had the case with him and then
26
     some Texas lawyer stole the case settled it for the large amount and [the defendant] had
27
     an attorney lien claim on it” which was subsequently settled. Brave Law Firm, LLC v.
28
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 1   Truck Accident Lawyers Grp., Inc., No. 17-01156 , Dkt. No. 38-12 (D. Kan. July 9,
 2   2018). Nevertheless, this somewhat substantiated allegation in the complaint was enough
 3   for the case to go forward, as the district court explained it was literally false for an at-
 4   torney to represent that he or she had achieved a settlement when in reality “it was the
 5   client’s new counsel who obtained that amount.” Brave Law Firm, LLC, 2019 U.S. Dist.
 6   Lexis 79275 at *19.
 7         Things got strange at this point, however. Apparently feeling emboldened by this
 8   decision on the pleadings, the plaintiff attended a rather raucous case management con-
 9   ference during which he promised to dismiss his claim if the defendant could actually
10   come forward with credible proof that it obtained the $9 million settlement. See Brave
11   Law Firm, LLC, No. 17-01156, Dkt. No. 91 (D. Kan. Sept. 9, 2019). What happened next
12   is the defendant filed a motion to enforce this unilateral promise to dismiss the case,
13   attaching declarations from its co-counsel and opposing counsel in the twenty-year-old
14   case that testified in unison the defendant was counsel of record in the matter from start
15   to settlement and materially participated in every aspect of the case. See Brave Law Firm,
16   LLC, No. 17-01156, Dkt. Nos. 91-5 & 91-6 (D. Kan. Sept. 9, 2019). This was enough for
17   the district court, as it held the plaintiff to its promise and dismissed the case after finding
18   the defendant represented the client at the time of the $9 million settlement and material-
19   ly participated in obtaining the settlement. Brave Law Firm, LLC v. Truck Accident
20   Lawyers Grp., Inc., 2020 U.S. Dist. Lexis 24201, *12-*13 (D. Kan. 2020). The same
21   principle should hold true in this case: if someone wants to take credit for successfully
22   litigating a case, he or she needs to be present and materially involved at the end (not the
23   beginning) when the remedies are obtained.
24                v.     The Bennett Case
25         Brave Law Firm is not the lone case on false advertisements by attorneys, as there
26   is also the Bennett case from the Eastern District of Virginia that dealt with the fallout of
27   partners who dissolved a law firm and went separate ways. See Bennett v. Zydron, 2017
28   U.S. Dist. Lexis 15439 (E.D. Va. 2017), aff’d by 2017 U.S. Dist. Lexis 154692 (E.D. Va.
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 1   2017). In the wake of the dissolution, the plaintiff discovered that his one-time co-worker
 2   was “taking credit for legal services [that were] assigned to [him at the prior firm] when
 3   he was not actually responsible for the results achieved.” Id. at *20. As one example, the
 4   professional website run by the defendant “displayed a $105,450.00 jury verdict reached
 5   in an auto collision case in Chesapeake Circuit Court in 2012” which the plaintiff con-
 6   tended in his complaint was his case for which he “did all of the work and tried it suc-
 7   cessfully to a jury verdict.” Id. at *21. When presented with these allegations, the district
 8   court sided with the plaintiff and concluded that the advertisement as alleged was “literal-
 9   ly false.” Id. at *21. The principle that comes out of this case is really just an extension of
10   the Brave Law Firm case discussed above: even if an attorney was present when a set-
11   tlement was obtained or a case was successfully litigated, he or she still needs to have ac-
12   tually done the work in order to take credit for it in commercial advertising.
13         B.     Literal Falsity – Implied
14         Literal falsity occurs in multiple ways, not just when an explicit statement in the
15   advertisement is found to be offensive but also when the same can be said about a mes-
16   sage being conveyed by “necessary implication.” MMM Healthcare, Inc. v. MCS Health
17   Mgmt. Options, 818 F. Supp. 2d 439, 450 (D.P.R. 2011) (citing Clorox Co. P.R. v. P&G,
18   228 F.3d 24, 34-35 (1st Cir. 2000)). Here, there is a yin to the yang, as the claim that Mr.
19   Rosette did successfully litigate the Pauma case is also an implied representation that
20   Williams & Cochrane did not. The least Mr. Rosette should have done was to preface the
21   first portion of offending language by saying that he helped to successfully litigate the
22   Pauma case, which, while still not true, would have at least put the consuming public on
23   notice that another firm had a role in the case and they should inquire further before
24   blindly relying upon the representations of a potential fiduciary. See Brave Law Firm,
25   2019 U.S. Dist. Lexis 79725 at *19 (rebuking the defendant for not saying he helped to
26   obtain a settlement for which he was alleged to have contributed to the point of having an
27   enforceable attorney’s lien).
28   ///
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 1           C.    Misleading
 2           A false advertising claim is still viable even if an advertisement falls outside the a-
 3   bove categories when it is literally true but misleading in context. Typically, this down-
 4   grade from literally false to true but misleading is a big deal because a plaintiff has to
 5   present evidence of consumer confusion in unintentional situations through the use of
 6   consumer surveys or the reactions of witnesses, whether expert or percipient. See
 7   Cottrell, Ltd. v. Biotrol, Int’l, Inc., 191 F.3d 1248, 1252 (10th Cir. 1999). However, this
 8   is not the case with attorney advertisements, as courts have long held in analogous situa-
 9   tions that judges are perfectly capable of ruling on whether such advertisements are mis-
10   leading by just looking at the advertisement. See, e.g., FTC v. Colgate-Palmolive Co.,
11   380 U.S. 374, 391-92 (1965) (finding such for the FTC’s regulation of deceptive advertis-
12   ing); Brockey v. Moore, 107 Cal. App. 4th 86, 100 (3d Dist. 2003) (same for false adver-
13   tising actions under California’s unfair competition law). Thus, even if the Court con-
14   cludes the Pauma advertisement is technically true based upon Mr. Rosette’s association
15   with the case for the first nine months during which time the preliminary injunction was
16   secured and subsequently lost, it is still misleading because his deposition testimony re-
17   veals that he was not even responsible for doing any of the work leading up to the injunc-
18   tion:
19           Q. Now, in terms of the [compact] litigation, the drafting and filing of the
             complaint and the arguing, did you do all that yourself up to the time you
20
             were removed from the case?
21           A. No, I – I have employees that work for me that conduct research, draft,
             make court appearances, so on and so forth.
22
             Q. All right. So outside of being sort of the lead strategist, did you make any
23           appearances or become an attorney of record at all?
             A. I was an attorney of record. There was only one appearance that was
24
             actually showing up, the oral argument for the preliminary injunction. And I
25           had a conflict that day.
             Q. Who argued that case from your firm?
26
             A. Cheryl Williams.
27
     See Williams Decl., P1233-1234. Further, as will be discussed in greater detail in the de-
28
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 1   ception section below, multiple expert witnesses with decades of experience in California
 2   Indian law believe that tribal clients – like most any other client – would find the Pauma
 3   advertisement completely misleading if they knew the details of Mr. Rosette’s actual role
 4   in the case. See Williams Decl., Exs. 2, 4.
 5   III.   CAUSATION OR CONSUMER DECEPTION IS PRESUMED IN AT LEAST FOUR WAYS,
            ESTABLISHED AS A MATTER OF LAW, AND FURTHER PROVEN THROUGH EVI-
 6
            DENCE LIKE ADMISSIONS BY QUECHAN AND EXPERT TESTIMONY FROM WIL-
 7          LIAMS & COCHRANE

 8          A.    Presumptions
 9          Again, the literal falsity of the advertisement and the intentionality of the conduct
10   create presumption of consumer deception, but there are at least two additional presump-
11   tions that also shift the burden to disprove causation on to the Rosette Defendants. The
12   first of these arises from the expenditure of substantial funds by a competitor to “deceive
13   consumers and influence their purchasing decisions.” Southland Sod Farms, 108 F.3d at
14   1146 (citation omitted). After all, “[h]e who has attempted to deceive should not com-
15   plain when required to bear the burden of rebutting a presumption that he succeeded.” Id.
16   During the anti-SLAPP portion of this case, the Rosette Defendants submitted a declara-
17   tion by Christian Cienfuegos, an executive assistant with the firm who for at least the past
18   ten years has been responsible for overseeing the firm’s marketing efforts, from mana-
19   ging the creation and distribution of the its marketing materials to maintaining records of
20   such. Williams Decl., Ex. 14, ¶¶ 3-4 In carrying out these job responsibilities, Ms. Cien-
21   fuegos testified that in the ordinary course of business the Rosette Defendants “often
22   commission[] the printing and distributions of marketing brochures.” Williams Decl., Ex.
23   14, ¶ 4. Thus, all of the idiosyncratic statements about the Pauma suit disclosed thus far
24   have an army of capital support, from a long-tenured executive assistant responsible for
25   putting them into commerce, to outside marketing professionals who assist in this en-
26   deavor, to the costs of mass mailing, to all the trappings associated with the electronic
27   version (from a web designer to a hosting platform). Whatever the actual cost, it is certain
28   to be substantial.
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 1         But, the timing of the advertisements can be just as important as the amount of the
 2   expenditures in the presumption analysis. The chronology of events or the temporal cor-
 3   relation between the advertisement and the alleged harm can also give rise to a pre-
 4   sumption of causation, which a defendant is free to rebut with evidence of alternate cred-
 5   ible explanations. See, e.g., Larry Pitt & Assocs., v. Lundy Law LLP, 294 F. Supp. 3d
 6   329, 342 (E.D. Pa. 2018). One would be hard pressed to find a case in which the contrac-
 7   tual interference was any closer in time to the culmination of the principal work. As the
 8   evidence shows, the parties engaged in a final negotiation session on June 14, 2017, after
 9   which Cheryl Williams immediately called the point persons for Quechan – the Vice
10   President and the CEO for the Quechan Casino Resort – to relay what transpired and the
11   projected timeline for winding up the negotiations over the next sixteen or so days.
12   Williams Decl., Exs. 37, 38. Right after that, the Quechan Vice President circulated an e-
13   mail to the rest of the Tribal Council to recount the conversation and apprise everyone
14   that the compact would be ready for signature on or about the 1st of July. Williams Decl.,
15   Ex. 39. And yet, Mr. Rosette was in a face-to-face meeting with the President and a
16   Councilmember of Quechan the very next morning in which he was touting his “experi-
17   ence with compact negotiations in California” and expressing his “interest[] in assisting
18   in Quechan’s California negotiations.” Williams Decl., Exs. 12-13. Of course, the only
19   California compact experience worthy of note in the Rosette marketing materials was the
20   Pauma case, the very project that led Williams & Cochrane to get the Quechan work in
21   the first place. And by taking credit for the Pauma suit, the Rosette Defendants did some-
22   thing that is largely unheard of when dealing with governmental clients: it went from A
23   to Z in the courtship and thereby convinced a governmental entity to enter into a contrac-
24   tual relationship designed to totally breach another contract in less than the sixteen days
25   that remained before the negotiations underlying the targeted contract were complete.
26         B.    Established as a Matter of Law
27         The presumptions above just relate to false advertising in the normal marketplace,
28   and do not take into account that such advertising when done by an attorney is presumed
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 1   as a matter of law to have deceived the audience. Attorney advertising is such a sensitive
 2   subject that entire ethical rules are devoted to it, which at the time of the events in this
 3   case prohibited California attorneys from advertising in such a way that communicates
 4   any untrue statement; presents or arranges the information in a manner that makes it
 5   false, deceptive, confusing, or otherwise misleading; or omits any facts necessary to
 6   make the statements not misleading to the public. Cal. Rule of Prof’l Conduct 1-
 7   400(D)(1)-(3) (1992). What these rules try to convey is that an attorney has to take own-
 8   ership for the effects of its false advertising (especially when it comes to claimed suc-
 9   cesses), a point made clear by the district court in the Bennett case discussed above:
10         Moreover, even if a showing of consumer deception was required in this
           instance, it is reasonable to infer that defendants’ misrepresentations
11
           deceived or tended to deceive website visitors. … The Court agrees with
12         plaintiffs’ argument that ‘the entire reason a lawyer would advertise positive
           case outcomes is to influence the purchasing decision – to convince
13
           prospective clients that the lawyer is competent, that he can get good results,
14         and that he has expertise in cases similar to the prospective client’s.’
15   Bennett, 2017 U.S. Dist. Lexis 15439 at *21-*22. Thus, the false Pauma advertisement –
16   whether literally false or just misleading – has given rise to an irrebuttable presumption
17   of causation, if not materiality as well.
18         C.     Additional Proof
19         Presumptions aside, there is still a wealth of evidence showing both that the Pauma
20   advertisement did deceive Quechan and would deceive a substantial segment of the audi-
21   ence. For the former point, one needn’t look past the responsive pleading by Quechan in
22   this case, which begins the Counterclaims section by detailing the import of the Pauma
23   case – explaining that Williams & Cochrane raised the case in its very first meeting with
24   the Tribal Council shortly after the press reported upon it, allegedly promised an outcome
25   “resembling a Pauma like recovery,” and then allegedly did a “bait and switch” on this
26   “Pauma-based sales pitch” at some point after that. Dkt. No. 231, p. 28. But, moving
27   away from Quechan in particular, Williams & Cochrane has also submitted expert reports
28   from two professionals who have been in the California Indian law field for decades and
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 1   believe the Rosette Defendants’ advertisement would likely deceive the intended audi-
 2   ence. See Williams Decl., Exs. 2, 4; Skydive Az., Inc. v. Quattrocchi, 673 F.3d 1105, 1111
 3   (9th Cir. 2012) (explaining causation and materiality can be proven by expert testimony
 4   on what consumers might believe, and that consumer surveys are best suited for when a
 5   non-legal advertisement is just misleading in nature). One of these professionals is
 6   George Forman, an attorney who has been practicing in the field for fifty years and is one
 7   of the three responsible for California v. Cabazon Band of Mission Indians, 480 U.S. 202
 8   (1987), the Supreme Court case that held states do not have general civil regulatory au-
 9   thority over Indian tribes and consequently led to the enactment of the Indian Gaming
10   Regulatory Act (“IGRA”), 25 U.S.C. § 2701 et seq., the following year. In his expert re-
11   port, Mr. Forman details his considerable experience over ten-plus pages, indicates that
12   he reviewed the Pauma advertisement on the Rosette website, and then explains that tri-
13   bal leaders would be deceived by falsities like this because “few tribal leaders would
14   have the wherewithal to look up the decision to verify the claimed result, the extent to
15   which the lawyer actually had personal responsibility for that result, and the aftermath of
16   that result.” Williams Decl., Ex. 2, p. 11. Of course, this sort of trust is reflective of cli-
17   ents more generally, according to Mr. Forman, who – much in line with the Bennett court
18   – believes that clients “tend to take lawyers’ representations about their abilities and ac-
19   complishments at face value, lacking the means or knowledge with which to test the ac-
20   curacy of representations made to them.” Williams Decl., Ex. 2, p. 11.
21   IV.   MATERIALITY IS PRESUMED IN AT LEAST THREE WAYS, ESTABLISHED AS A
           MATTER OF LAW, AND FURTHER PROVEN BY THE ROSETTE DEFENDANTS
22
           SELLING SOMETHING THEY KNEW WAS IMPORTANT TO QUECHAN
23
           Along with the two familiar presumptions of literal falsity and intentionality comes
24
     a third for the materiality element, and that is a defendant making a false advertisement in
25
     a small marketplace that could persuade a customer to forego one of a select few com-
26
     petitors for itself. See Allen v. The Ghoulish Gallery, 2007 U.S. Dist. Lexis 86224, *29
27
     (S.D. Cal. 2007). Correctly identifying the market in this case requires one to perpetually
28
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 1   increase the magnification: not attorneys, but Indian law attorneys; not Indian law at-
 2   torneys, but California Indian law attorneys; not California Indian law attorneys, but Cal-
 3   ifornia Indian law attorneys that deal with compact and related gaming issues. And so it
 4   goes. But, this fact is well-known to the Court who has already described the firms as
 5   “operating in a niche market involving the representation of Indian tribes.” Dkt. No. 285,
 6   p. 2. Thus, a misrepresentation about one or another’s services in a field as specialized as
 7   this is bound to have an effect – and likely profound effect – on the purchasing decisions
 8   of the customers.
 9         In proving materiality, it is important to remember that “[t]he plaintiff does not
10   need to demonstrate that the defendant’s representations actually affected consumer be-
11   havior, but rather only that they were likely to have done so.” Merck Eprova AG, 920 F.
12   Supp. 2d at 423. And this likeliness analysis occurs in the abstract, as, just for causation,
13   one does not even need to submit proof that the customers even saw the advertisement at
14   issue in order to make its case. See Youngevity Int’l, 2019 U.S. Dist. Lexis 112926 at *26.
15   But saw it Quechan did, as the Tribe admits right at the outset of its responsive pleading
16   that the Pauma decision was critical to the hiring for the compact work (its importance
17   was even stressed by the Tribe’s other employees), and the anti-SLAPP declarations dis-
18   close that the Tribe’s leadership and Mr. Rosette had an in-depth discussion about his
19   supposed accomplishments in the world of California compacting, of which the Pauma
20   case was the only thing worthy of note. See, e.g., Williams Decl., Exs. 12-13, 16, 32.
21         It would be absurd to believe the Pauma advertisement was neither seen nor dis-
22   cussed; after all what could be more material to a tribe seeking to get out of an amended
23   compact with onerous revenue sharing obligations than the credentials of an attorney who
24   claimed to have litigated the one case in which a tribe was successfully able to do just
25   that? Ample proof exists that clients do hire attorneys based upon their past successes in
26   similar matters. It happened to Quechan’s litigation counsel WilmerHale for one; on that
27   front, the Attorney General of the Tohono O’odham Nation filed a declaration in a feder-
28   al lawsuit explaining her tribe hired WilmerHale to defend its attempts to take lands into
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 1   trust for gaming purposes because “in City of Roseville v. Norton, 248 F.3d 1020 (D.C.
 2   Cir. 2003), WilmerHale’s attorneys successfully defended against similar challenges to a
 3   determination by the Department of the Interior to take land into trust for an Indian tribe
 4   and the land’s eligibility for gaming.” Williams Decl., Ex. 63, ¶¶ 7-8. Put simply, legal
 5   successes are advertised for a reason, and that reason is no different for fraudsters who
 6   are trying to at least create the appearance of sameness in order to sponge off the good-
 7   will of another. See Bennett, 2017 U.S. Dist. Lexis 15439 at *21-*22 (“[T]he entire rea-
 8   son a lawyer would advertise positive case outcomes is to influence the purchasing deci-
 9   sion – to convince prospective clients that the lawyer is competent, that he can get good
10   results, and that he has expertise in cases similar to the prospective client’s.”). Once they
11   have done this, then all they need to do is sell this contrived sameness at a lower cost,
12   thus forcing a customer in the marketplace to ponder why it is paying X for something it
13   can purchase for X-Y. See Quidel Corp. v. Siemens Med. Solutions USA, Inc., 2017 U.S.
14   Dist. Lexis 171757, *10 (S.D. Cal. 2017) (“If Defendants advertise that IMMULITE
15   operates in the same manner as Thyretain… but works faster and is less expensive, it is
16   reasonable to infer that this would influence customers’ purchasing decisions.”).
17         Coming full circle, it is obvious that all of this actually played out at Quechan. The
18   anti-SLAPP declarations submitted by Quechan testify that a Tribal Councilmember
19   “spoke with another [Indian] law firm [that specializes in litigation]… to explore the
20   possibility of replacing [Williams & Cochrane],” [b]ut [ultimately the Tribe]… decided
21   not to pursue a relationship.” Dkt. No. 29-3, p. 3. Williams Decl., Ex. 13, ¶¶ 6-7. The rea-
22   son for this is attributed to a seeming fallacy pertaining to admission status, but one pat-
23   ent and provable difference between this firm and the one run by Mr. Rosette is that one
24   claimed to have “successfully litigated” the Pauma case and the other did not. Thus, just
25   chalk Quechan up as part of the “74%” of potential clients who believe “that past results
26   are an important attribute in choosing a lawyer,” as it obviously bought what the Rosette
27   Defendants were selling. See Rubenstein v. Fla. Bar, 72. F. Supp. 3d 1298, 1303 (S.D.
28   Fla. 2014).
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 1   V.    INTERSTATE COMMERCE IS SHOWN BY THE WEB-BASED SITUS
 2         Proving the foregoing elements essentially winds up a false advertising claim and
 3   positions the Court to fashion relief. Showing the advertisement at issue entered interstate
 4   commerce may seem like it stands in the way of this but this “requirement of a Lanham
 5   Act false advertising claim is ‘virtually automatic for website,’ as for the Representations
 6   in this case” (see Nutrition Distrib. LLC, 2019 U.S. Dist. Lexis 25352 at *9 n.3), which
 7   the Defendants admit “[we]re generally accessible by users [anywhere in the world] who
 8   ha[d] access to the internet.” Williams Decl., P0167.
 9   VI.   THE COURT SHOULD AWARD DAMAGES IN THE AMOUNT OF WILLIAMS & COCH-
           RANE’S LOSSES AND THE ROSETTE DEFENDANTS’ GAINS AT QUECHAN, IF NOT
10
           TREBLING ONE OR BOTH OF THE FOREGOING AMOUNTS FOR DETERRENCE PUR-
11         POSES

12         The remedial analysis for this claim is simple and straightforward, as an injury is
13   presumed where, as here, the “defendant and plaintiff are direct competitors and de-
14   fendant’s misrepresentation has a tendency to mislead consumers.” Pipe Restoration
15   Techs., LLC v. Coast Bldg. & Plumbing, Inc., 2018 U.S. Dist. Lexis 196094, *11 (C.D.
16   Cal. 2018) (citing, e.g., TrafficSchool.com, Inc. v. Edriver, Inc., 653 F.3d 820, 826 (9th
17   Cir. 2011)). This presumption in turn empowers the “district court in its discretion to fa-
18   shion [the] relief [afforded by the statute], including monetary relief, based on the totality
19   of the circumstances.” Southland Sod Farms. 108 F.3d at 1146; see 15 U.S.C. § 1117(a)
20   (providing for the recovery of any damages sustained by the plaintiff, the defendant’s
21   profits, and the cost of the action). In making this determination, the circumstances a
22   court is supposed to consider include “the nature of the infringing actions, including the
23   intent with which they were motivated and the actuality, if any, of their adverse effects
24   upon the aggrieved party.” Lindy Pen Co., 982 F.2d at 1405. Thus, for example, a cus-
25   tomer who switched its account from the plaintiff to the defendant is credible proof of the
26   fact of damages, if not the base amount of such. Id. at 1411. And again, this is precisely
27   the situation presented in this case, as the Rosette Defendants met with Quechan the
28   morning after it was informed by Cheryl Williams of the agreement in principle reached
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 1   at the June 14, 2020 negotiation session and the anticipated date it would need to be avai-
 2   lable to sign the final agreement. See Williams Decl., Exs. 12-13, 37-39.
 3         Yet, lost profits is just the first and most direct of the three financial remedies a-
 4   vailable to Williams & Cochrane under the statute, with another being “an accounting of
 5   the defendant’s profits under a theory of unjust enrichment” if it acted with an intent to
 6   reap the benefits of the plaintiff’s products or services. See, e.g., Healthport Corp., 563 F.
 7   Supp. 2d at 1182 (collecting cases). The purpose of this remedy is to serve as a first-line
 8   form of deterrence by ensuring that a defendant cannot profit from infringing activity.
 9   Maier Brewing Co. v. Fleischmann Distilling Corp., 390 F.2d 117, 123 (9th Cir. 1968).
10   What is truly remarkable here is that the tribal declarations submitted as part of the anti-
11   SLAPP portion of this case reveal that the false advertising has been extremely lucrative
12   for the Rosette Defendants. As to that, the two members of the Quechan Tribal Council
13   who met with Mr. Rosette the morning after the final update on the status of the compact
14   negotiations admitted that they were so “satisfied with Rosette’s work [in winding up the
15   compact] that Rosette LLP, took over the general counsel job” for the Tribe. See, e.g.,
16   Williams Decl., Ex. 13, ¶ 20. This code speak about a job well done in reality has nothing
17   to do with rubber stamping the final draft compact and everything to do with scaring Wil-
18   liams & Cochrane out of the picture by employing threats to ruin its reputation in Indian
19   Country and the State of California. Williams Decl., Ex. 41. Thus, terrible human behav-
20   ior has produced tremendous financial rewards, making the present case one in which dis-
21   gorgement is absolutely warranted. With that said, deterrence is still best accomplished
22   under the Lanham Act by enhancing damages using a multiplier of up to three, and Wil-
23   liams & Cochrane requests the Court to do that in this case. See OmniGen Research, LLC
24   v. Yongqiang Wang, 2017 U.S. Dist. Lexis 189543, *47-*49 (D. Or. 2017) (collecting
25   cases).
26   VII. THE COURT SHOULD EXCLUDE THE EXPERT REPORT OF LYNDA SHELY, AN AL-
          LEGED PROFESSIONAL ETHICS EXPERT WHO OPINES ON ADVERTISING AND
27
          MAKES NUMEROUS LEGAL CONCLUSIONS IN CONNECTION THEREWITH EVEN
28        THOUGH THERE IS NO PROOF SHE HAS EVER SURVEYED OR EVEN INTERACTED
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 1         WITH INDIAN TRIBES
 2         Lastly, the Court should exclude the expert report of Lynda Shely, an alleged pro-
 3   fessional ethics expert who claims to be testifying on advertising issues but really spends
 4   most of her report making legal conclusions about the propriety of the attorneys’ be-
 5   haviors. Under Federal Rule of Evidence 702, expert testimony is only permissible if it is
 6   reliable, and the proponent of such has the burden of proving to the trial court – acting as
 7   a “gatekeeper” – that the proposed testimony is admissible. See Kwan Software Eng’g,
 8   Inc. v. Foray Techs., LLC, 2014 U.S. Dist. Lexis 17376, *10-*12 (N.D. Cal. 2014) (col-
 9   lecting cases). Here, Ms. Shely begins her report by explaining that she has “devoted
10   most of [her] practice [over the past 26 years] to providing professional responsibility and
11   risk management advice to lawyers,” and in connection therewith she has served “as an
12   expert witness on ethical issues.” Dkt. No. 322-63, ¶ 1. Based on these qualifications, Ms.
13   Shelly then shifts from lawyers to clients and ethics to advertising, citing a single Legal
14   Trends Report detailing how consumers find a lawyer to conclude that “[c]onsumers of
15   legal services do not rely on advertising claims when deciding to hire a lawyer,” and
16   tribes are even less likely to do so based on their more considerable “experience in retain-
17   ing [these] professionals.” Dkt No. 322-63, ¶¶ 70-71. Yet, the fact that Ms. Shelly might
18   be an ethics expert does not make her in the least bit qualified to either do or dissect con-
19   sumer surveys. See, e.g., Valador, Inc. v. HTC Corp., 242 F. Supp. 3d 448, 458 (E.D. Va.
20   2017) (explaining “four decades of experience as a market research consultant” does not
21   make the requisite showing that someone “is qualified to opine on consumer confusion or
22   proper survey methods”). Moreover, there is no proof that the survey cited even exam-
23   ined the proper universe of consumers, which is not “consumers of legally services gen-
24   erally” but federally-recognized Indian tribes. See Kwan Software Eng’g, Inc,. 2014 U.S.
25   Dist. Lexis 17376 at *11-*12. While she may want to sub in her professional opinion for
26   that of the proper audience, Ms. Shely is not positioned to do so because nothing in her
27   report even suggests that she has met a single disinterested Indian let alone worked with
28
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 1   Indian tribes. Not to mention, the advertising section of her report is woefully income-
 2   plete; Ms. Shely cites this single survey on the supposed unimportance of attorney adver-
 3   tising but does mention the one conducted in recent years by the Florida State Bar on the
 4   importance of this advertising that found 74% of survey participants believed past results
 5   are an important attribute in choosing a lawyer. See Rubenstein v. Fla. Bar, 72 F. Supp.
 6   3d at 1303; Florida Supreme Court, 2011 Rules Cases – SC11-1327 In Re: Amendments
 7   to the Rules Regulating The Florida Bar – Subchapter 4-7, Lawyers Advertising, avai-
 8   lable at https://www.floridasupremecourt.org/Case-Information/Archive-Rules-Cases/
 9   2011-Rules-Cases (last visited Sept. 7, 2020). There are surely other state bar surveys out
10   there, but it should be the responsibility of the expert to distill those for the Court, not the
11   adverse party.
12         Of course, the real purpose of Ms. Shely’s expert report is not to relay expertise on
13   false advertising within the Indian law field but simply to cite cases and make legal con-
14   clusions primarily on issues that have nothing to do with the Lanham Act claim – the
15   statement is protected commercial speech, Mr. Rosette’s complied with his ethical obli-
16   gations, and Williams & Cochrane violated its own based upon a cursory review of just
17   some of the materials filed in the case. None of these and the other legal conclusions are
18   appropriate, and all of this should have just been argued by the Rosette Defendants them-
19   selves as part of their motion for summary judgment. See Convertino v. U.S. DOJ, 772 F.
20   Supp. 2d 10, 13 (D.D.C. 2010) (“[T]he standard is not that experts may testify and offer
21   legal conclusions as long as such testimony would only amount to harmless error; the
22   standard is that expert witnesses may not testify and offer legal conclusions at all.”).
23                                         CONCLUSION
24         For the foregoing reasons, Williams & Cochrane respectfully requests the Court to
25   enter judgment in favor of the Firm on its false advertising claim under the Lanham Act
26   in the manner described herein.
27   ///
28   ///
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 1       RESPECTFULLY SUBMITTED this 17th day of September, 2020
 2

 3
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